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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

FREDERICK BANKS,                           :   CIVIL ACTION NO. 1:21-CV-890
                                           :
                   Petitioner              :   (Judge Conner)
                                           :
             v.                            :
                                           :
R. THOMPSON, WARDEN,                       :
                                           :
                   Respondent              :

                                      ORDER

      AND NOW, this 27th day of October, 2021, upon consideration of the petition

for writ of habeas corpus pursuant to 28 U.S.C. § 2241, and for the reasons set forth

in the accompanying Memorandum, it is hereby ORDERED that:

      1.     The petition for writ of habeas corpus (Doc. 1) is DISMISSED.

      2.     The Clerk of Court is directed to CLOSE this case.

      3.     Based on the court’s conclusion herein, any appeal from this order is
             deemed frivolous.




                                       /S/ CHRISTOPHER C. CONNER
                                       Christopher C. Conner
                                       United States District Judge
                                       Middle District of Pennsylvania
